Case 1:21-cv-22749-JEM Document 65 Entered on FLSD Docket 01/06/2022 Page 1 of 1


                            UNITED STATES DISTRICT COURT FOR THE
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                        Case Number: 21-22749-CIV-MARTINEZ-BECERRA

  JAMES RAMSDELL,

          Plaintiff,

  v.

  FIRST PREMIER BANK, et al.,

        Defendants.
  _____________________________________/

                               ORDER ON NOTICE OF SETTLEMENT
          THIS CAUSE came before the Court upon Plaintiff’s Notice of Settlement stating that
  Plaintiff and the remaining defendant, Portfolio Recovery Associates, LLC (“Portfolio
  Recovery”), have reached a settlement in this matter. (ECF No. 64). It is hereby:
          ORDERED AND ADJUDGED as follows:
          1.        Plaintiff and Defendant Portfolio Recovery shall file either a Notice of Dismissal
  (if the Defendant has not served an answer or motion for summary judgment) or a Stipulation of
  Dismissal (signed by all parties who have appeared in this action), which must be filed with the
  Clerk of the Court; a proposed Order of Dismissal or Final Judgment; and any other documents
  necessary to conclude this action on or before 30 days from the date of this Order.
          2.        If the parties fail to comply with this Order, the Court shall dismiss this case without
  prejudice without any further warning.
          3.        The Clerk shall ADMINISTRATIVELY CLOSE this case for statistical purposes
  only and all pending motions are DENIED as moot. This shall not affect the substantive rights
  of the parties.
          DONE AND ORDERED in Chambers at Miami, Florida, this 5th day of January, 2022.




                                                           ____________________________________
  Copies provided to:                                      JOSE E. MARTINEZ
  Magistrate Judge Becerra                                 UNITED STATES DISTRICT JUDGE
  All Counsel of Record
